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RIGHTS ACT, TITLE 42 SECTION 1983
U. S. Code (state, county, or municipal defendants)

 

f1TUT10N ("BIVENS" ACTION), TITLE

28 sEchoN 1331(a) U.s. codéff literal defendancs)

0THER (cice statute, _if blown)____;_

 

 

Revised 4/01

 

I. Plaintiff(s):

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A. Name: B,MA/M~z£ /’VL_¢;ELJ/e¢~nv’
List all aliases: 3 U M‘M“ B¢FM /€1,'55'_@// M},¢L¢ /U,LG N

B

C. Prisoner identificat1on number: Q~€)<.)B 63 O 3 7 /~/ / 5'

D Place ofpresent confinement CGG'F' COr_nL/'-f-fj "_§_..et,t L/

E. Address: 93 5'0 50 » Cr_._t( £FCFFNIC;. ?»"alé'- wa@ LT-“L é.eée»g

(If there 1s more than one plaintiff, then each plaintiff must list his or her name, aliases,
I. D. number, and current address according to the above format on a separate sheet of

Paper )
II. Defendant(s);
(In A below, place the full name of the first defendant` 111 the first blank, his or her official

position in the second blank, and his or her place of employment' 1n the third blank. Space
for two additional defendants is provided___in__l__$_ and C.)

A. Defendant: AOJL /Qw%'rl"cf< §g//; MM`/
Title: bJZ/‘Yc@€""/Li';""@ CE~¢Q|___§'F (L;Lc°€atjo

5/@1/ __§s_ Cu~vw-¥'~cu¢’N/L 'Cl\_§e Ic fiatqu

 

Place of Employment:

B. Defendant: DUF er H-~"Vy 25 wills fci
Title: }’>.r¢/f*€€))éd:b’@ @:U°“,__'_ E:@/{f\/\ 11a/go

PlaceofEmplOyment: 579[ 5_'--" ("-"'““N`LW"`V\" CJW`”€' IC C~f>€ll°!

C. Defendant: bread godqu ;¢-_0-1-/@:-7
Title; M¢c,,ir`r/a, CL i£-<] 0 15 <L-l/QLC_@§ o
` Piaceofnmploymem: 51 w stirewa-¢w¢c% CP»$,_/o TLL ca esq

(If you have more than three defendants,r:tlien all additional defendants must be listed
according to the above format on a separat$_>,,$heet of paper.)

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III. Exhaustion of Adrninistrative Remedie`s

You are required to exhaust ali your avallable administrative remedies before bringing an
action in federal court.

A. Is there a grievance procedure available at your institution?
YES ( ) NO ('Mf there is no__gri_evance procedure, skip to F.
B. Have you filed a grievance concerning the facts in this complaint?

YES( ) NO (1/)/

 

C. If your answer is YES:

1. What steps did you take?_

/‘/M

 

 

2. What was the result?

/1///%_

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3. If the grievance was not resolved to your satisfaction, did you appeal?

What was the result (if there was no procedure for appeai, so state.)

/'//4:

 

 

D. If your answer is NO, explain why no_t:

 

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E. Is the grievance procedure now completed? YES ( ) NO (\/)/-

F. If there is no grievance procedure _in the institution, did you complain to

authorities? YES ( ) NO (H_/'{
G. If your answer is YES:

1. What steps did you take?

 

/`///t  

 

2. What was the result?

_A//A-f_-

 

 

H, If your answer is NO, explain why not:

no

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U$Q¢;X 75 2595/§§ {'5, /oc)f CT:`M:IL'OJ’ CtLV(;Qg am M`@__

 

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IV. List ALL lawsuits you (and your co-plain§iff_s, if any) have filed in any state or federal
court (including the Central and Southern`_l'_)istricts of Illinois):

 

 

A. Name of case and docket number: /\//;Z}'
_ / '
B. Approximate date of filing lawsuit: __ ' w }q'

 

C. List all plaintiffs (if you had co-plaintiffs), including any aliases:

 

 

 

 

 

 

 

 

 

 

 

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f [ 1-.‘1-:»`¢“
D. List all defendants: y , /,__
/ V _'
Z
E. Court in which the lawsuit was filed (if federal court, name the district; if state
court, name the county): A/ /,El
- _ /_ / T
F. Narne of judge to whom case was as_s_igned: }\//}Zl
l 47F '
G. Basic clairnmade: A / /¢l
'r * / _l' _

 

 

H. _ Disposition of this case (for example: Was the case dismissed? Was it appealed?

Is it still pending?): /), / /,\
/ "/ 177

 

H. Approximate date of disposition: A/M
IF YOU HAVE FILED MORE THAN ONE LA§YSU¢I_T, T}[EN YOU MUST DESCRIBE
THE ADDITIONAL LAWSUITS ON ANOTHER_PIECE OF PAPER, USING THIS SAN[E
FORMAT. REGARDLESS OF HOW MANY____C_ASES YOU HAVE PREVIOUSLY FILED,
YOU VVlLL NOT BE EXCUSED FROM FILLINGOUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT ___I_N DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASE§_"THEY HAVE FILED.

Revised 4/01

1 Case: 1:O4-cV-0003}~Document #: 1 |_:i|_et__i_j_____t)_1/O5/OAf Page/lof 9 Page|D #:7

Staternent of Claim:

State here as briefly as possible the facts__of your case. Describe precisely how each

defendant is involved, Include also the names of other persons involved, dates, and places.
Do not give any legal arguments or cite_____a__ny cases or statutes. If you intend to allege
a number of related claims, number and set forth each claim in a separate paragraph (Use

as much space as you need. Attach extra sheets if necessary.)

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VI. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments
Cite no cases or statutes

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:_...`CERTIFICATION

By signing this_Complaint, I certify that the facts stated in this
Complaint arc true to the best of my knowledge, information
and belief I understand that if this certification is not correct
I may be subject_to sanctions by the Cou.rt.

Signed this day of , 20

 

 

 

(Signature of,ijiaintiH or plaintiffs)
(Print name)

(I.D. Number)_

 

 

(Address)

Revised 4/01

